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 1                                  UNITED STATES DISTRICT COURT
 2                                      DISTRICT OF NEVADA
 3                                                 ***
 4   JOSE DECASTRO,                                           Case No. 2:23-cv-00580-APG-EJY
 5                    Plaintiff,
 6          v.                                                             ORDER
 7   LAS VEGAS METROPOLITAN POLICE
     DEPARTMENT, et al.,
 8
                      Defendants.
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10          Pending before the Court is Plaintiff’s Motion for Extension of Time to File Rule 59(e)
11   Motion Regarding ECF No. 45. ECF No. 46. As an initial matter, the Court clarifies there is no
12   stay of discovery in this matter. A stay of discovery was granted only so long as the Motion to
13   Dismiss was pending. The Motion to Dismiss was decided on October 23, 2023 (ECF No. 44)
14   thereby automatically lifting the stay of discovery. Consistent with the Court’s Order resolving the
15   Motion to Dismiss, Plaintiff has through and including November 22, 2023 to file an amended
16   complaint. Id.
17          With respect to discovery, given the decision on the Motion to Dismiss, the parties had
18   fourteen (14) days (November 6, 2023) to meet and confer regarding a proposed discovery plan and
19   scheduling order. ECF No. 35. The parties have twenty-one (21) days to file a revised proposed
20   discovery plan and scheduling order (November 13, 2023). If the parties cannot agree on a revised
21   discovery plan and scheduling order, each party (Plaintiff and Defendant) must file their own
22   proposed discovery plan and scheduling order by November 13, 2023. These requirements and
23   dates remain in effect.
24          With respect to the Court’s Minute Order at ECF No. 45, filed on October 24, 2023, this was
25   not a dispositive order. That said, to the extent Plaintiff, who is proceeding pro se, was unsure
26   whether he could proceed with motion practice related to that Order, the Court grants him through
27   and including November 27, 2023 to file whatever it is he seeks to file.
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 1          Accordingly, IT IS HEREBY ORDERED that Plaintiff’s Motion for Extension of Time to

 2   File Rule 59(e) Motion Regarding ECF No. 45 (ECF No. 46) is GRANTED in part as stated above.

 3          IT IS FURTHER ORDERED that Plaintiff has through and including November 27, 2023

 4   to file whatever motion or response he believes is appropriate with respect to the Court’s Order at

 5   ECF No. 45.

 6          Dated this 9th day of November, 2023.

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                                                 ELAYNA J. YOUCHAH
 9                                               UNITED STATES MAGISTRATE JUDGE
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